










Opinion issued January 26, 2006











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00986–CV




LYNDON CHARLES CHESHIRE AND ANGELA TRIVITT CHESHIRE,
Appellant

V.

DANER LEE CHESHIRE, Appellee




On Appeal from the Probate Court No. 1
Harris County, Texas
Trial Court Cause No. 343274401




MEMORANDUM OPINIONAppellant Lyndon Charles Cheshire and Angela Trivitt Cheshire has neither
established indigence, nor paid all the required fees.  See Tex. R. App. P. 5 (requiring
payment of fees in civil cases unless indigent), 20.1 (listing requirements for
establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207, 51.941(a),
101.041 (Vernon Supp. 2004) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellant Lyndon Charles Cheshire and Angela Trivitt Cheshire
did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule);
42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
&nbsp;
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


